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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MISSOURI
                                   ST. LOUIS DIVISION


  Theresa Marie Woytous,                        )
                                                )   Case No.: 18-40257-705
                Debtor.                         )
                                                )
  Nationstar Mortgage, LLC, d/b/a Mr.           )   Chapter 7
  Cooper, its successors and/or assignees       )
                                                )   HEARING DATE: April 3, 2018
                Movant,                         )   HEARING TIME: 9:30 a.m.
                                                )   COURTROOM # 7 South
  Theresa Marie Woytus                          )
  Tracy A. Brown, Chapter 7 Trustee,            )   Objection Deadline:
                                                )   March 27, 2018
                Respondents.                    )

                            NOTICE OF HEARING AND
                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

       WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY
  AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY
  CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE
  MOVING PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A
  COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE
  BY MARCH 27, 2018.

       YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
  GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
  GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
  MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
  HEARING. THE DATE IS SET OUT ABOVE. UNLESS THE PARTIES AGREE
  OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
  MAY DECIDE THE MOTION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

            The Hearing, as stated above, will be held before the Honorable Charles E.
  Rendlen, III, in Courtroom No. 7 South in the United States Bankruptcy Court, United
  States Courthouse, United States Bankruptcy Court, Thomas F. Eagleton U.S. Courthouse,
  111 South Tenth St, St. Louis, MO 63102.
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         COMES NOW Movant, Nationstar Mortgage, LLC d/b/a Mr. Cooper, its successors

  and/or assigns (“Movant”), and states as follows in support of its Motion for Relief from the

  Automatic Stay:

         1.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334 and

  11 U.S.C. § 362 and Bankruptcy Rules 4001(a) and 9014.

         2.      On January 17, 2018, Theresa Marie Woytus (“Debtor”) filed for protection in the

  Bankruptcy Court for the Eastern District of Missouri under Chapter 7 of the Bankruptcy Code,

  being bankruptcy case number 18-40257-705.

         3.      Tracy A. Brown is the appointed Chapter 7 Trustee.

         4.      Debtor is the owner of real estate located at 3010 Kingsley Drive, Florissant,

  Missouri 63033-6220 (“the Property”). The Property is legally described as follows:

         Lot 526 of Robinwood Plat 9, a subdivision in St. Louis County, Missouri,
         according to the Plat thereof recorded in Plat Book 88 Page 17 of the St.
         Louis County Records.

         5.      Movant is the holder, or legal agent of the holder, of a Note secured by a First

  Deed of Trust – copies of which are attached hereto as exhibits – encumbering the Property.

  Attached are redacted copies of any documents that support the claim, such as promissory notes,

  purchase order, invoices, itemized statements of running accounts, contracts, judgments,

  mortgages, and security agreements in support of right to seek a lift of the automatic stay and

  foreclose if necessary

         6.      Debtor states the estimated current market value of her interest in the Property is

  approximately $80,000.00.

         7.      According to the Debtor’s Statement of Intention, the Property is to be

  surrendered.
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         8.      As of February 23, 2018 the minimum outstanding obligation is:

         Principal Balance                                                        $75,514.08
         Interest                                                                   $758.80
         Corporate Advance                                                            $15.00
                                                       Total                      $76,287.88


         9.      The principal balance on the promissory note is approximately $75,514.08,

  plus interest at the rate of 4.375%; and, Debtor has failed to make payments due on the

  promissory note; and, such payments are owing and delinquent from January 1, 2018, to

  February 1, 2018 as set forth below:

         2 Regular monthly payments at $583.36 each:                                $1,166.72
         Attorney fees and costs for this Motion                                     $781.00
         Property Preservation Fee                                                      $0.00
         Property Inspection Fee                                                        $0.00
         Non-Sufficient Funds Fee                                                       $0.00
         Appraisal Fee                                                                  $0.00
         Accrued Late Charges                                                           $0.00
         Less Suspense                                                                ($0.00)

                                                       Total                        $1,947.72

  Furthermore, additional payments will become due according to the terms of the note.

         10.     The recoverable market value of the Property does not exceed the indebtedness to

  Movant together with other liens, if any, against the Property.

         11.     Movant does not have, and has not been offered, adequate protection for its

  security interest in the Property. Absent an order, Movant's interest in the Property will be

  irreparably injured and harmed.

         12.     The Property is not of sufficient value over and above the deed of trust

  indebtedness it secures, plus the homestead exemption, if any, to be of any benefit for the estate.

         WHEREFORE, Movant respectfully requests that the Bankruptcy Court enter its Order:

  granting this Motion for Relief from the Automatic Stay; and, terminating the automatic stay
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  pursuant to 11 U.S.C. Section 362(d) as to the Property and Movant; and, waiving the fourteen

  (14) day stay imposed by FRBP 4001(a)(3); and, permitting Movant to take such actions with

  respect to the Property as are set forth under applicable non-bankruptcy law (i.e. modifications,

  deed in lieu, short sales, and other loss mitigation options); and, permitting Movant to proceed

  with foreclosure of its note and deed of trust pursuant to the laws of the State of Missouri; and,

  awarding to Movant awarded its costs and attorney's fees for bringing this action; and, for such

  other and further relief as this Court may deem just and proper.

                                               SHAPIRO & KREISMAN, LLC

                                        By:    /s/Zachary G. Edwards
                                               Zachary G. Edwards #63798
                                               Adam S. Kerekanich #68602
                                               Jason O. Bright #65309
                                               13801 Riverport Drive, Suite 502
                                               Maryland Heights, MO 63043
                                               (314) 770-2120
                                               Fax (314) 770-1850
                                               S&K File No. 18-032099
                                               akerekanich@logs.com
                                               zedwards@logs.com
                                               Attorneys for Movant
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                                  CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing document was filed
  electronically on March 12, 2018 with the United States Bankruptcy Court, and has been served
  on the parties in interest via e-mail by the Court’s CM/ECF System as listed on the Court’s
  Electronic Mail Notice List.

  Attorney for Debtors:
  Douglas Ryan Smith
  Law Office of Robert M. Wohler
  225 S Main, Ste 100
  O’Fallon, MO 63366

  Chapter 7 Trustee:
  Tracy A. Brown
  1034 S. Brentwood Blvd., Suite 1830
  St. Louis, MO 63117

  Office of the US Trustee:
  Thomas Eagleton US Courthouse
  111 S. 10th Street, Suite 6353
  St. Louis, MO 63102

          I hereby certify that a true and correct copy of the foregoing document was filed
  electronically on March 12, 2018 with the United States Bankruptcy Court, and has been served
  by Regular United States Mail Service, first class, postage fully pre-paid, to the parties listed
  below on March 12, 2018.

  Debtors:
  Theresa Woytus
  3010 Kingsley Drive
  Florissant, MO 63033



                                               /s/Zachary G. Edwards
                                               Zachary G. Edwards #63798
                                               Adam S. Kerekanich #68602
                                               Jason O. Bright #65309
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                         UNITED STATES BANKRUPTCY COURT
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  Theresa Marie Woytus                         )
                                               )   Case No.: 18-40257-705
                       Debtor.                 )
                                               )   Chapter 7


                                  SUMMARY OF EXHIBITS

        The following exhibits, in reference to the Motion of Nationstar Mortgage, LLC d/b/a
  Mr. Cooper, were electronically mailed on March 12, 2018:

         1.     Deed of Trust executed on April 15, 2015, by Theresa Woytus, in the amount of
                $79,000.00, and recorded on April 22, 2015, in Book 21477, Page 1593;

         2.     Assignment of Deed of Trust;

         3.     Note executed April 15, 2015, in the original amount $79,000.00.


                                               SHAPIRO & KREISMAN, LLC

                                      By:      /s/Zachary G. Edwards
                                               Zachary G. Edwards #63798
                                               Adam S. Kerekanich #68602
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                                               Attorneys for Movant
